.        Case 3:16-cr-00003-TCB-RGV Document 871 Filed 06/26/18 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          NEWNAN DIVISION



    JARRATT MELVIN,

         Movant,
                                            CIVIL ACTION FILE
    V.
                                            NUMBER 3:16-cr-03-TCB
    UNITED STATES OF AMERICA,

         Respondent.



                                    ORDER
         This matter comes before the Court on Magistrate Judge Russell

    G. Vineyard's report and recommendation (the "R&R") [868] to vacate,

    set aside, or correct Defendant Jarratt Melvin's sentence under 28

    U.S.C. § 2255. The R&R recommends that Melvin's § 2255 motion be

    granted and that an amended judgment and commitment order be

    issued recommending Melvin be allowed to participate in the Bureau of

    Prisons 500-hour intensive drug treatment program. The Government

    agrees this relief is appropriate.
     Case 3:16-cr-00003-TCB-RGV Document 871 Filed 06/26/18 Page 2 of 2




     Having considered the evidence and arguments, and given the

Government's concession that the relief is appropriate, and Melvin's

history of drug abuse, the Court adopts as its Order the R&R [868].

Melvin's§ 2255 motion [857] is granted. Accordingly, the Court amends

its June 1, 2017 judgment and commitment [669] to include the

recommendation that Defendant participate in the Bureau of Prisons

500-hour intensive drug treatment program while incarcerated.

     It is further ordered that the Clerk deliver a certified copy of this

judgment and commitment to the United States Marshall or other

qualified officer and that the copy serve as the commitment of the

Defendant.

     IT IS SO ORDERED this 7,f./~ day of June, 2018.




                                  Timothy C. Batten, Sr.
                                  United States District Judge




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